        Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 1 of 15



                      UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF NEW YORK

---------------------------------------- x
UNITED STATES OF AMERICA                 :
                                         :           Case No. 17-cr-00684-ECR
v.                                       :
                                         :
Emanuel “Book” Richardson                :
                                         :
     Defendant.                          :
-----------------------------------------X


                         SENTENCING MEMORANDUM
                     ON BEHALF OF EMANUEL RICHARDSON




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                                                                                1
        Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 2 of 15



                                 TABLE OF CONTENTS

BACKGROUND                                                                               4
APPLICABLE LAW                                                                           7
THE APPROPRIATE SENTENCE                                                                 9
 I.   Consideration of the 18 U.S.C. § 3553(a) Factors Merits a Lenient Sentence.        9
 A.     Emanuel Richardson’s History And Character                                       9
 B.     The Nature And Circumstances Of The Offense.                                    10
 C.    A Non-Custodial Sentence is Appropriate in Order to Avoid Unwarranted Disparities
 with Comparable Cases.                                                                  11
 D.     A Non-Custodial Sentence is Sufficient to Deter Others                          12
CONCLUSION                                                                              13




                                                                                         2
          Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 3 of 15



                                  TABLE OF AUTHORITIES
  Cases

Apprendi v. New Jersey, 530 U.S. 466 (2000)

Blakely v. Washington, 124 S. Ct. 2531 (2004)

Gall v. United States, 552 U.S. 38, 49 (2007)

Rita v. United States, 551 U.S. 338 (2007)

United States v. Booker, 125 S. Ct. 738 (2005)

United States v. Gupta, 904 F. Supp. 2d 349, 350 (S.D.N.Y. 2012)



  Rules

18 U.S.C. § 3553(a); 18 U.S.C. § 3553(a)(4)

18 U.S.C. § 3553(b)(1); 18 U.S.C. § 3742(e)

18 U.S.C. § 3582; 18 U.S.C. § 3661

U.S.S.G.§5Hl;




                                                                           3
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 4 of 15



                                           INTRODUCTION

       Mr. Richardson respectfully submits this memorandum in advance of his May 30, 2019

sentencing, to provide information to aid the Court in fashioning a sentence that is “sufficient,

but not greater than necessary” to achieve the statutory purposes of sentencing, as required by 18

U.S.C. § 3553(a) in light of United States v. Booker, 125 S. Ct. 738 (2005). Mr. Richardson

respectfully requests that this Honorable Court impose a non-custodial sentence in this case. For

the following reasons, an appropriate sentence of probation would be sufficient but not greater

than necessary to achieve the statutory purposes of sentencing.

                                         BACKGROUND

       Emanuel Richardson was born in New York City in 1972 starting his early childhood in a

difficult environment without much stability. During this time, he suffered from physical and

emotional abuse from his young mother. (PSR ¶106). Throughout Mr. Richardson’s life, his

biological father was not present and Mr. Richardson looked to his coaches and friends as a way

of filling the gap of despair from his unstable childhood. Mr. Richardson’s mother largely relied

on public assistance growing up. (PSR ¶107). At the age of 5, Mr. Richardson’s mother became

romantically involved with Eugene Otis Richardson. This relationship helped to provide some

financial and emotional stability in his life. Eugene Richardson was not Emanuel Richardson’s

biological father but at some point in the relationship, Mr. Richardson changed to his father’s

surname, which was a significant event in his life.

       During Emanuel Richardson’s sophomore year of high school, Eugene Richardson left

the family and went to Bermuda. He subsequently died in Bermuda and Emanuel Richardson

never saw his step-father again. After this period, Mr. Richardson’s mother who had nothing but




                                                                                                4
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 5 of 15



a seventh-grade education took a series of odd jobs in an effort to support the family. During this

difficult time, Mr. Richardson, slept on the couches of friends and relatives.

       Mr. Richardson excelled in basketball at St. Raymond’s High School as a point guard

during what could be considered the golden age of New York City basketball. Basketball was a

way out. Basketball was his life. Mr. Richardson earned a scholarship to Florida Atlantic

University and then transferred to Pitt-Johnstown where he earned a degree in Business

Administration. After college, Mr. Richardson worked in banking for JP Morgan Chase but

always thought his real calling was basketball. He left the banking industry to become a

substitute high school and basketball coach at elementary schools in Manhattan and the Bronx.

(PSR ¶107) Coaching and being a mentor to youth had become his calling and something Mr.

Richardson is passionate about to this day. He then became an assistant coach at Marist College

from 2004-2005 before taking over the New York Gauchos, a summer basketball program. (See

Ian   Begley    “He’s    Booked.”    NY     Daily    News,    August    21 ,
                                                                                 2007    available   at

https://www.nydailynews.com/sports/high-school/booked-article-1.239342.)           Mr.     Richardson

brought unprecedented success to the Gauchos program. In 3 years as director and head coach of

the Gauchos program, he sent 7 players to Division 1 basketball schools.

       In 2007, Mr. Richardson left New York City and the Gauchos to become an Assistant

Coach at Xavier University in Cincinnati. He worked at Xavier for two years under head coach

Sean Miller. In 2009, Miller accepted the Head Coaching job at the University of Arizona and

took Mr. Richardson with him as his lead assistant coach and top recruiter. During Mr.

Richardson’s eight-year tenure at the University of Arizona were regarded as one of the top

teams of the country. Mr. Richardson had truly found his calling in life to help young men excel

on the court and in the classroom. As an assistant coach, yes he was able to guide them in the




                                                                                                     5
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 6 of 15



field of play but also help to further be a leader and guide them in the ups and downs of college

life and preparing them with life skills after basketball.

       As a result of his arrest, Mr. Richardson was placed on leave and then fired by the

University of Arizona in January of 2018. Though presently caring for his teenage son, E.J., Mr.

Richardson’s days largely revolve around residing in Tucson and coaching and training athletes

under the age of 17. The national publicity derived from this case has resulted in Mr.

Richardson’s reputation being destroyed and has left him to draw on savings in order to meet

monthly financial obligations. His wife, Erin, has returned to New York City for employment so

the family can receive health insurance. As evidenced by his Pre-Sentence Investigation Report,

Mr. Richardson and his wife do not generate enough to meet their monthly financial obligations.

(PSR ¶130)

       Mr. Richardson pled guilty to conspiracy to commit bribery, in exchange for “directing

basketball players to retain certain…advisors,” (Plea Agreement pg 1.). Mr. Richardson fully

admits his actions in this case were wrong and he regrets them. The two players that Mr.

Richardson had discussed with the government’s undercover agents, Rawle Alkins (at the time a

player at Arizona) and recruit Jahvon Quinerly were never ruled ineligible to play college

basketball. Alkins played the entire 2017-18 season for the Wildcats and is now playing

basketball professionally. Quinerly played his freshman year in 2018-2019 at Villanova

University. Mr. Richardson never recommended the co-defendants’ firm to either player.

       Mr. Richardson has no criminal history and has never been arrested, charged, prosecuted

or convicted of any criminal matter, including misdemeanors, or juvenile adjudications. Mr.

Richardson respectfully requests that the Court impose a probationary sentence.




                                                                                               6
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 7 of 15



                                    APPLICABLE LAW

       It is duly noted the applicable law provided herein is consistent with the Sentencing

Submission of the Mr. Richardson in this case.

       In 2005, the Supreme Court ruled that its Sixth Amendment holdings in Blakely v.

Washington, 124 S. Ct. 2531 (2004) and Apprendi v. New Jersey, 530 U.S. 466 (2000) apply to

the Federal Sentencing Guidelines. Booker, 125 S. Ct. at 756. Based on this conclusion, the

Court further found those provisions of the federal Sentencing Reform Act of 1984 (“Sentencing

Reform Act”) that make the Guidelines mandatory, 18 U.S.C. § 3553(b)(1), or which rely upon

the Guidelines’ mandatory nature, 18 U.S.C. § 3742(e), incompatible with its Sixth Amendment

holding. Id. Accordingly, the Court severed and excised those provisions, making the Guidelines

effectively advisory. Id. at 757.

       The Sentencing Reform Act, as revised by Booker, requires a sentencing court to

consider Guidelines ranges, see 18 U.S.C. § 3553(a)(4) (Supp. 2004), but also permits the court

to tailor the sentence in light of other statutory concerns. See 18 U.S.C. § 3553(a); see also

Booker, 125 S. Ct. at 757.

       District courts are required to properly calculate and consider the Guidelines when

sentencing, even though the Guidelines are advisory in nature. Rita v. United States, 551 U.S.

338 (2007) (stating that a district court should begin all sentencing proceedings by correctly

calculating the applicable Guidelines range); see also Gall v. United States, 552 U.S. 38, 49

(2007) (“As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark.”).     The Court, in determining the

appropriate sentence in a particular case, therefore, must consider the properly calculated




                                                                                             7
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 8 of 15



Guideline range, the grounds for departure provided in the policy statements, and then the factors

under 18 U.S.C. § 3553(a). Rita, 551 U.S. at 351.

       Under Booker, sentencing courts must treat the Guidelines as just one of a number of

sentencing factors set forth in 18 U.S.C. § 3553(a). The primary directive in Section 3553(a) is

for sentencing courts to impose a sentence sufficient, but not greater than necessary, to comply

with the following purposes:

       (A)     to reflect the seriousness of the offense, to promote respect for the law,
               and to provide just punishment for the offense;
       (B)     to afford adequate deterrence to criminal conduct;
       (C)     to protect the public from further crimes of the defendant; and
       (D)     to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective
               manner[.]

18 U.S.C. § 3553(a)(2). In addition, when determining a minimally sufficient sentence, Section

3553(a) further directs sentencing courts to consider the following factors:

       (1)     the nature and circumstances of the offense and the history and
               characteristics of the defendant;
       ...
       (3)     the kinds of sentences available;
       ...
       (6)     the need to avoid unwarranted sentence disparities among defendants with
               similar records who have been found guilty of similar conduct; and

       (7)     the need to provide restitution to any victims of the offense.

       Other statutory sections also give the district court direction in sentencing. Under 18

U.S.C. § 3582, imposition of a term of imprisonment is subject to the following limitation: in

determining whether and to what extent imprisonment is appropriate based on the Section

3553(a) factors, the judge is required to recognize that imprisonment is not an appropriate means

of promoting correction and rehabilitation.




                                                                                                 8
           Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 9 of 15



       Under 18 U.S.C. § 3661, no limitation shall be placed on the information concerning the

background, character, and conduct of the defendant, which a court may receive and consider for

the purpose of imposing an appropriate sentence. See also United States v. Gupta, 904 F. Supp.

2d 349, 350 (S.D.N.Y. 2012) (explaining that although a sentencing court is required to

“correctly calculat[e] the applicable Guidelines range,” that calculation falls “second” to “the

bedrock” of federal sentencing, 18 U.S.C. § 3553(a), which “requires a court to take account of a

defendant’s character in imposing sentence.”). This statutory language certainly overrides the

(now-advisory) policy statements in Part H of the Sentencing Guidelines, which list as not

ordinarily relevant to sentencing, a variety of factors such as the defendant’s age, educational and

vocational skills, mental and emotional conditions, drug or alcohol dependence, and lack of

guidance as a youth. See U.S.S.G. § 5Hl.

                              THE APPROPRIATE SENTENCE

      I.       Consideration of the 18 U.S.C. § 3553(a) Factors Merit a Lenient Sentence.

       In light of the foregoing, and based on the following analysis of the applicable Section

3553(a) factors, Mr. Richardson respectfully submits that a probationary sentence is sufficient

to comply with the statutory purposes of sentencing.

            A. Emanuel Richardson’s History and Character

       Due to the enormous publicity surrounding this case, a negative picture of Mr.

Richardson has emerged in the media and amongst college basketball fans. However, nothing

could be further from the truth. Until his arrest on September 27, 2017, he was a success story.

Mr. Richardson has come from humble beginnings and has worked hard to succeed. He had no

male role models in his life and had an emotionally and physically abusive relationship with his

young mother. He turned to athletics and excelled. Basketball fueled his path forward from




                                                                                                  9
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 10 of 15



troubled beginnings. In 1998, Mr. Richardson became the first member of his family to graduate

college earning a bachelor’s degree in Business Administration. He worked in banking for two

years but decided his passion was basketball and took the steps necessary to get to the highest

levels of the profession.

       Even more important than his success as a collegiate basketball coach, Mr. Richardson

has been a loving son, father, husband and mentor. Due to the absence of a father and strong

male role model growing up, Mr. Richardson has done everything in his power to support his

family. In short, family is Mr. Richardson’s priority.

       Mr. Richardson knows he has let people down because of mistakes. He feels remorse and

shame for his actions but that has not stopped him from caring for his family. Additionally, he

has taken a job training young athletes in Tucson. It does not pay very much but he has found it

to be rewarding and has allowed him to get back to the basics. It is what made a career in

basketball so appealing to him initially. Mr. Richardson was a humble and good man before his

arrest on September 27, 2017 and he remains a humble and good man today.

           B. The Nature and Circumstances Of The Offense.

       Here, the conduct for which Mr. Richardson, as pled falls far outside the norm of bribery

cases that typify the offense. Undeniably Mr. Richardson accepted money from the government

under the guise of steering athletes to Christian Dawkins’ fledgling sports management company

but in doing so, the harm has been largely self-inflicted. The two student athletes that Mr.

Richardson was supposed to refer to Dawkins’ agency have never been suspended or ruled

ineligible by the NCAA. Mr. Richardson never gave them the money and did not jeopardize their

careers in basketball. Furthermore, he did not intend to harm the University of Arizona in any

way. Indeed, the Government merely contends that his conduct exposed Arizona to potential




                                                                                             10
        Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 11 of 15



NCAA sanctions. However, despite this exposure his conduct caused, the NCAA has not

imposed any monetary fines or other penalties upon Arizona or any other university involved in

the case. It is with great emphasis that the foregoing does not justify Mr. Richardson’s actions.

Clearly, at the time of the events giving rise to the charges, Mr. Richardson was aware his

conduct was in violation of the NCAA rules. It is conduct he knew he should not have been

engaging. Therefore, he accepts the consequences of his actions and offers no excuse for

conduct he realizes was wrong.

       Given the unique nature and circumstances of this alleged offense, a “sentence other than

imprisonment is generally appropriate” and we would ask the Your Honor recognize this

benchmark and depart from the 3 month recommendation and impose a non-custodial period of

supervision.

           C. A Non-Custodial Sentence is Appropriate in Order to Avoid Unwarranted
              Disparities with Comparable Cases.

       It would be fundamentally unfair to order Mr. Richardson to serve time in prison for a

crime when many others who have engaged in identical conduct will go unpunished. Under

Section § 3553(a), Mr. Richardson’s sentence should reflect this dichotomy, considering he has

always been a law abiding citizen.

       It is important to note, the conduct at issue in this case is commonplace in college

athletics. For decades, the vast majority of individuals who participated in the same conduct for

which Mr. Richardson pled guilty did so without criminal sanction. In fact, the government did

not charge two other assistant coaches who are on camera accepting money in exchange for

referring players to defendants Dawkins and Code. And, even in the few instances where




                                                                                              11
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 12 of 15



individuals have served custodial sentences, there is little doubt that those cases are the

exception. In sum, the facilitation of payments to talented college athletes – which undoubtedly

violates the NCAA’s rules – is commonplace and has historically been considered a mere

violation of NCAA rules, not a federal crime

        It would be unjust for Mr. Richardson to be made an example through incarceration,

when so many people who have engaged in the exact same type of conduct which has not subject

to criminal sanction.

           D. A Non-Custodial Sentence is Sufficient to Deter Others

        The public humiliation associated with being indicted and pleading guilty to a crime, on a

national stage is severe. The experience of seeing one’s face and name pinned to the pages of the

internet, newspapers and sports media outlets is extremely difficult, and is made even worse

when one knows that his entire family will forever face the public embarrassment for years to

come.

        Emanuel Richardson’s disrepute, perhaps more than any of the coaches in this case, has

been eagerly reported by news writers around the world, especially those working in the sports

industry. Any sports fan who has so much paid attention to ESPN has received the message loud

and clear—accepting money to refer student athletes to a sports agency or financial firm is more

than just an NCAA violation. Mr. Richardson does not need to be incarcerated to get that

message across. He has already lost his job, will never work in college basketball again and will

never again be in the professional context positioned to make such choices.

        Finally, while Mr. Richardson fully understands and does not attempt to trivialize the

seriousness of this case, specific deterrence is achieved in this case with a probationary sentence.

Mr. Richardson certainly does not pose a threat to the public, and evidences no prior criminal


                                                                                                 12
         Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 13 of 15



history and, prior to this case, had never even been charged with a crime. There is no point of

reference one could ever make to suggest that Mr. Richardson would have a propensity to be

violent, or pose a threat to anyone in society.

       This conviction is an aberration in a life that has otherwise been characterized by law-

abiding behavior. In his life, Mr. Richardson has held nothing but the greatest respect for the law

and certainly never exhibited any traits of a criminal, or one who absent incarceration, would

pose a threat, or be a menace to society.

       In sum, Mr. Richardson’s entire life, in part by his own misguided volition, is largely

ruined and will never be the same. As a result of this case, he will never work again in college

basketball and will be saddled with a felony conviction thereby vastly limiting his professional

opportunities in any capacity. Certainly this punishment alone would arguably be sufficient. In

short, there is absolutely no risk of recidivism here, and there is nothing to suggest that the public

needs to be protected from Mr. Richardson.

                                            CONCLUSION

       Mr.    Richardson is asking for the Court’s mercy and leniency. As a result of his

conviction, Mr. Richardson’s lengthy, successful and fulfilling career as a college basketball

coach is over. He was fired by the University of Arizona in January of 2018 and has had very

little income since then. As a result of his September 25th, 2017 arrest, he has been unemployed

and entirely reliant upon his wife, friends and limited savings for support. Throughout this

ordeal, including the present, Mr. Richardson has resided in Tucson with his teenage son,

Emanuel Richardson, Jr and has focused on his parental obligations and using the downtime to

improve as a person.




                                                                                                   13
          Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 14 of 15



         The consequence of his admittedly foolish decisions have left his reputation in tatters and

even impacted his direct family, including his wife, a cancer survivor who moved back to New

York City to take a job as a receptionist to help support the family and provide health insurance

benefits for the family. Mr. Richardson by virtue of being the highest profile assistant at the most

prominent school has become the face of this scandal. In short, the consequences of this case

have rendered Mr. Richardson a relative pariah in the world of college basketball. It has further

left Mr. Richardson financially destitute with a clouded future. Certainly much punishment has

already been inflicted upon Mr. Richardson and the entire Richardson family.

         No term of imprisonment is necessary to deter Mr. Richardson from committing crimes

similar to those charged in this case, nor is a term of imprisonment necessary to achieve a just

punishment for his actions, which he resides with daily. By all accounts Mr. Richardson was a

humble and good person before he made this mistake and he remains a humble and good person

today.

         A probationary sentence would not be a substantial deviation from the 3-month

Guidelines     recommendation      by    Pretrial   Services.   However,    notwithstanding     this

recommendation, a probationary sentence fully accords with Mr. Richardson’s individual

characteristics and circumstances, the offense at issue, and the goals of sentencing that govern

the Court’s sentencing decision.

         For the foregoing reasons, we respectfully request that the Court impose a probationary

sentence, which is “sufficient, but not greater than necessary” to achieve the statutory purposes

of sentencing.




                                                                                                    14
       Case 1:17-cr-00684-ER Document 237 Filed 05/20/19 Page 15 of 15



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                                                                         15
